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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

ANGELA CLARK,

                PLAINTIFF.                 Case No.. 20-cv-11302-LVP-DRG
     v.
                                           Hon. Linda V. Parker
GENERAL ELECTRIC CORPORATION
and INSIGHT GLOBAL,

                DEFENDANTS.

             STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED, by undersigned counsel of
record for Plaintiff Angela Clark; Defendant, Insight Global, LLC; and Defendant
General Electric Corp., pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil
Procedure and pursuant to the Settlement Agreement between the parties, that the
claims asserted by Plaintiff in the above-captioned action are dismissed with
prejudice. Except as expressly designated in the Settlement Agreement, each party
shall bear its own cost and attorney’s fees.

      IT IS SO ORDERED.
                                               s/ Linda V. Parker
                                               LINDA V. PARKER
                                               U.S. DISTRICT JUDGE
 Dated: April 28, 2021
                      Case 2:20-cv-11302-LVP-DRG ECF No. 26, PageID.89 Filed 04/28/21 Page 2 of 2




                  Dated: April 28, 2021

                  By:    ____Carla D. Aikens____________            By:__/s/James B. Hiller_______________
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                                                CERTIFICATE OF SERVICE

                           I HEREBY CERTIFY THAT ON April 28, 2021, I caused the foregoing document to be
                  electronically filed with the Clerk of the Court Using the ECF system which will send notification
                  to all counsel of record:

                                                                      /s/ James B. Hiller




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